Case 1:24-cv-00547-JMB-PJG ECF No. 45-1, PageID.500 Filed 09/30/24 Page 1 of 5




                       Exhibit A
Case 1:24-cv-00547-JMB-PJG ECF No. 45-1, PageID.501 Filed 09/30/24 Page 2 of 5




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


LOREN OWENS,
          Plaintiff,                                    Case No. 1:24-CV-00547
                                                        Hon. Jane M. Beckering
v


DOES 1-133,

                                      ORDER GRANTING
                        PLAINTIFF’S EX PARTE MOTION AS TO DOES 1-133
                       FOR LEAVE TO SERVE A THIRD-PARTY SUBPOENAS
                             PRIOR TO A RULE 26(F) CONFERENCE

          Having considered Plaintiff’s Ex Parte Motion as to Does 1-133 for Leave to Serve A

Third-Party Subpoenas Prior to a Rule 26(F) Conference, after the briefing and oral argument and

the entire record herein, the Court finds that Plaintiff’s motion is well taken. For the foregoing

reason,

          IT IS HERBY ORDERED that:

          1. Plaintiffs’ motion is granted, Plaintiff shall attach any such subpoena to a copy of this

              Order of the Court.

          2. Plaintiff established “good cause” to serve a third-party subpoena to identify the John

              Doe Defendant's true names, address, phone numbers for the purpose of serving the

              summons and complaint in this case. The Doe Defendants' phone calls to Plaintiff are

              listed in Exhibits 1 and 2 of Plaintiff's Amended Complaint.

                  a. Plaintiff has identified 41 unique phone number
Case 1:24-cv-00547-JMB-PJG ECF No. 45-1, PageID.502 Filed 09/30/24 Page 3 of 5




             b. Plaintiff is limited to the subscriber information of the 41 telephone numbers

                 listed in Exhibit 1 and 2 of the Amended Complaint for the subscriber of the

                 numbers on the dates of March 21, 22, and 23, 2024.

             c. Plaintiff has attached a list of 41 unique numbers to reduce the burden on the

                 Wholesale Communication Interconnection Service Provider of identifying

                 each number from the Plaintiff's phone images.

      3. Plaintiff may serve the Wholesale Communication Interconnection Service Provider

         (SINCH) with a Fed. R. Civ. P. 45 subpoena commanding the Wholesale

         Communication Interconnection Service Provider to provide Plaintiff with the

         subscriber information for the 41 numbers on the specified dates in questions and

         subject to this litigation, including

             a. the true name of the individual or business,

             b. physical address,

             c. mailing address,

             d. email address,

             e. alternate email addresses,

             f. and the telephone number provided

      4. Within 14 days of its receipt, the Wholesale Communication Interconnection Service

         Provider shall reasonably attempt to identify the subject John Doe subscribers and

         provide them with a copy of the subpoena and this order.

      5. Nothing in this order precludes the Wholesale Communication Interconnection Service

         Provider or John Doe(s) from challenging the subpoena consistent with the Federal

         Rules of Civil Procedure and this Court’s local rules. However any such challenge,
Case 1:24-cv-00547-JMB-PJG ECF No. 45-1, PageID.503 Filed 09/30/24 Page 4 of 5




             such as a motion to quash the subpoena or a motion for a protective order, shall be filed

             before the return date of the subject subpoena, and the return date shall be no earlier

             than thirty-five (35) days from the service of the subpoena on the Wholesale

             Communication Interconnection Service Provider. See Third Degree Films v Does 1-

             47, No. 12-10761, 286 F.R.D. 188, 2012 WL 448911, at *1 (D. Mass. Oct. 2, 20212)

             (issuing a subpoena with provision for motion practice before production of

             information). Where no motion is filed either by the Wholesale Communication

             Interconnection Service Provider or John Doe within the time periods prescribed

             herein, the ISP shall produce to Plaintiff the information identified in Paragraph 3(a-f)

             above.

        6. Plaintiff and the Wholesale Communication Interconnection Service Provider, shall

             confer, if necessary with respect to the issues of payment for the requested information

             in the subpoena for.

        7. Plaintiff shall pay the processing Fees outlined in the Wholesale Communication

             Interconnection Service Provider Civil Subpoena Policy 1 Sections 2.3, 5.4 & 5.5.

                 a. Plaintiff shall request from the Wholesale Communication Interconnection

                       Service Provider an estimate of the Individual Case Basis Processing Fee (“ICB

                       FEE”) in section 5.5

        8. The Wholesale Communication Interconnection Service Provider that receives this

             subpoena and elects to charge for the cost of production shall provide a receipt for the

             amount paid as summary of charges billed for the Individual Case Basis Processing

             Fee.


1 https://www.sinch.com/sites/default/files/file/2023-05/Civil-Subpoena-Policy-2023-05.pdf (Last accessed

September 26, 2024).
Case 1:24-cv-00547-JMB-PJG ECF No. 45-1, PageID.504 Filed 09/30/24 Page 5 of 5




       9. Plaintiff may only use the information disclosed in response to this Rule 45 subpoena

           to the Wholesale Communication Interconnection Service Provider for the purposes of

           protecting and enforcing Plaintiff's rights as set forth in her complaint.

       10. No other discovery is authorized by this Order.



FURTHER ORDERED that parties provide full and complete responses, and produce documents

or information, within fourteen (28) days of the service of a subpoena. The responses must include

all information that helps to identify the parties, including all names, addresses, emails, phone

numbers, and any other relevant information



                                                              SO ORDERED.



Dated:____________________________                            _____________________________
                                                              HON. Phillip J. Green
                                                              United States Magistrate Judge
